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                                   8                                UNITED STATES DISTRICT COURT
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                                                                  NORTHERN DISTRICT OF CALIFORNIA
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                                                                             SAN JOSE DIVISION
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                                  12     IN RE: YAHOO! INC. CUSTOMER                          Case No. 16-MD-02752-LHK
Northern District of California
 United States District Court




                                  13     DATA SECURITY BREACH
                                         LITIGATION                                           AMENDED JUDGMENT
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                                  18          This Order supersedes ECF No. 496.

                                  19          On July 22, 2020, the Court granted the Plaintiffs’ motion for final approval and granted in

                                  20   part Plaintiffs’ motion for attorney’s fees, costs, expenses, and incentive awards. ECF No. 497.

                                  21   Judgment is entered. The Clerk shall close the file.

                                  22   IT IS SO ORDERED.

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                                  24   Dated: July 22, 2020

                                  25                                                   ______________________________________
                                                                                       LUCY H. KOH
                                  26                                                   United States District Judge
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                                       Case No. 16-MD-02752-LHK
                                       AMENDED JUDGMENT
